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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


MATTHEW E. ORSO,

      Plaintiff,

v.                                                     Case No: 8:21-mc-117-TPB-JSS

SCOTT COOK,

      Defendant.
___________________________________/

                                       ORDER

      On August 14, 2017, the United States District Court for the Western District

of North Carolina entered final judgment in favor of Plaintiff and against the

Defendant in the amount of $2,869.00. (Dkt. 1-1.)         Plaintiff registered the final

judgment with this Court on September 17, 2021. (Dkt. 1.) As such, the judgment

has the same force and effect as if it were entered by this Court. See 28 U.S.C. § 1963.

      Plaintiff states that Defendant has not satisfied any portion of the judgment.

(Dkt. 4 at 2.) However, Plaintiff believes that JP Morgan Chase Bank, N.A. has in its

possession and control money or property belonging to the Defendant sufficient to

satisfy the judgment in whole or in part. Accordingly, Plaintiff moves for the issuance

of a writ of garnishment as to JP Morgan Chase Bank, N.A., as Garnishee. (Id.)

                           APPLICABLE STANDARDS

      A party may enforce a money judgment by a writ of execution. Fed. R. Civ. P.

69(a)(1). The procedure must accord with the procedure of the state where the court
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is located. Id. In Florida, a person who has recovered a judgment in any court against

any entity has a right to a writ of garnishment. Fla. Stat. § 77.01. Chapter 77 of the

Florida Statutes sets forth the procedure for obtaining a writ of garnishment under

Florida law. After judgment has been obtained against a defendant, but before the

writ of garnishment is issued, the plaintiff shall file a motion stating the amount of the

judgment. Fla. Stat. § 77.03. The proposed writ shall state the amount named in the

plaintiff’s motion and require the garnishee to serve an answer on the plaintiff within

twenty days after service of the writ. Fla. Stat. § 77.04. Post-judgment writs of

garnishment may be issued ex parte and without notice to the judgment debtor. See

United Presidential Life Ins. Co. v. King, 361 So. 2d 710, 713 (Fla. 1978); Commc’ns Ctr.,

Inc. v. Komatsu, No. 6:05-cv-1254-ORL-31GJK, 2008 WL 2717669, at *1 (M.D. Fla.

June 27, 2008) (citing Brown v. Liberty Loan Corp. of Duval, 539 F.2d 1355, 1363 (5th

Cir. 1976)).

                                      ANALYSIS

      As Plaintiff has obtained a judgment against Defendant, Plaintiff has a right to

a writ of garnishment. Fla. Stat. § 77.01. Plaintiff’s Motion states the amount of the

judgment and Plaintiff attached a proposed writ as an exhibit to the Motion. (Dkt. 4-

1.) The proposed writ states the amount in the Motion and directs JP Morgan Chase

Bank, N.A. to respond within twenty days.

      Accordingly, it is ORDERED:




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      1. Plaintiff’s Motion for Writ of Garnishment After Judgment (Dkt. 4) is

         GRANTED.

      2. The Clerk of Court shall issue a writ of garnishment to JP Morgan Chase

         Bank, N.A., c/o CT Corporation System, 1200 South Pine Island Road,

         Plantation, Florida 33324. The Clerk of Court shall use the proposed Writ

         of Garnishment attached to Plaintiff’s Motion. (Dkt. 4-1.) The writ of

         garnishment shall include copies of Plaintiff’s Motion (Dkt. 4) and the

         registered judgment (Dkt. 1).

      3. The Clerk shall also attach to the writ the “Notice to Defendant” required

         by Section 77.041(1) of the Florida Statutes.

      4. Plaintiff is directed to comply with Section 77.041(2) of the Florida Statutes.

      DONE and ORDERED in Tampa, Florida, on November 15, 2021.




Copies furnished to:
Counsel of Record




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